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                                  7                              UNITED STATES DISTRICT COURT
                                  8                           NORTHERN DISTRICT OF CALIFORNIA
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                                           IN RE INDUCTORS ANTITRUST                    Case No. 18-cv-00198-EJD (NC)
                                  11
                                           LITIGATION                                   ORDER DENYING MOTION FOR
Northern District of California




                                  12                                                    STAY OF NON-MERITS
 United States District Court




                                                                                        DISCOVERY
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                                                                                        Re: ECF 195
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                                              Before the Court is the parties’ discovery letter brief regarding whether non-merits
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                                       discovery should be stayed pending Defendants’ motion to dismiss.1 ECF 195. The Court
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                                       finds that Defendants have not shown good cause. The Court therefore DENIES the
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                                       motion for stay of non-merits discovery. Rather, non-merits discovery may commence
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                                       immediately, but must be proportional to the needs of the case at this juncture.
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                                              Under Federal Rule of Civil Procedure 26(c), courts have broad discretion to stay
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                                       discovery upon a showing of “good cause.” Fed. R. Civ. P. 26(c)(1); see also Little v. City
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                                       of Seattle, 863 F.2d 681, 685 (9th Cir. 1988) (“The district court has wide discretion in
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                                       controlling discovery.”). Good cause may exist when a district court “is convinced that the
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                                       plaintiff will be unable to state a claim for relief.” Wenger v. Monroe, 282 F.3d 1068 (9th
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                                       Cir. 2002) (quoting Wood v. McEwen, 644 F.2d 797, 801 (9th Cir. 1981)). Similarly, good
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                                  28    Merits discovery was stayed pursuant to a stipulation between Plaintiffs and the United
                                       States. See ECF 181.
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                                  1    cause may be found “where the complaint is utterly frivolous, or filed merely in order to
                                  2    conduct a ‘fishing expedition’ or for settlement value.” Gray v. First Winthrop Corp., 133
                                  3    F.R.D. 39, 40 (N.D. Cal. 1990).
                                  4           Defendants have not shown good cause to warrant a stay of non-merits discovery.
                                  5    No motion to dismiss has been filed yet and it is not clear that the plaintiff will be unable
                                  6    to state a claim for relief. Cf. Singh v. Google, Inc., 2016 WL 10807598, at *2 (N.D. Cal.
                                  7    Nov. 4, 2016) (declining to take a “preliminary peek” at the merits of a motion to dismiss
                                  8    before it was fully briefed). Nor is the complaint clearly frivolous or simply a “fishing
                                  9    expedition,” given the United States’ intervention in this case. Gray, 133 F.R.D. at 40.
                                  10   Finally, Defendants have not identified any specific facts to support their assertion that
                                  11   denial of the stay would be particularly burdensome.
                                              The Court therefore DENIES Defendants’ motion to stay non-merits discovery.
Northern District of California




                                  12
 United States District Court




                                  13          IT IS SO ORDERED.
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                                  15   Dated: September 6, 2018                   _____________________________________
                                                                                        NATHANAEL M. COUSINS
                                  16                                                    United States Magistrate Judge
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                                       Case No. 18-cv-00198-EJD (NC)                2
